USCA Case #11-1302       Document #1362257                     Filed: 03/06/2012          Page 1 of 36
             ORAL ARGUMENT SCHEDULED FOR APRIL 13, 2012
              No. 11-1302 (and consolidated cases) – Complex
                  _______________________________________________________________

                   IN THE UNITED STATES COURT OF APPEALS
                    FOR THE DISTRICT OF COLUMBIA CIRCUIT
                  _______________________________________________________________

                      EME HOMER CITY GENERATION, L.P.,
                                                                            Petitioner,
                                                v.

        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, ET AL.,
                                                  Respondents
                  _______________________________________________________________

               On Petitions for Review of Final Action of the
               United States Environmental Protection Agency
                  _______________________________________________________________

   BRIEF FOR INTERVENORS AMERICAN LUNG ASSOCIATION,
    CLEAN AIR COUNCIL, ENVIRONMENTAL DEFENSE FUND,
   NATURAL RESOURCES DEFENSE COUNCIL, AND THE SIERRA
   CLUB AND AMICUS CURIAE AMERICAN THORACIC SOCIETY
               IN SUPPORT OF RESPONDENTS

  David T. Lifland                                George Hays
  Vickie L. Patton                                236 West Portal Ave., No. 110
  Environmental Defense Fund                      San Francisco, CA 94127
  2060 Broadway, Suite 300                        (415) 566-5414
  Boulder, CO 80302                               georgehays@mindspring.com
  (303) 447-7215
  vpatton@edf.org                                 Josh Stebbins
  dlifland@edf.org                                Sierra Club
                                                  50 F Street NW Suite 800
  Sean H. Donahue                                 Washington DC 20001
  Donahue & Goldberg, LLP                          (202) 675-6273
  2000 L St. NW Suite 808                         josh.stebbins@sierraclub.org
  Washington DC 30036
  (202) 277-7085                                  Counsel for the Sierra Club
  sean@donahuegoldberg.com

  Counsel for Environmental
    Defense Fund
                                                  (Additional counsel listed on
  March 6, 2012                                   following page)
USCA Case #11-1302    Document #1362257      Filed: 03/06/2012   Page 2 of 36

  John Walke                         David Marshall
  Natural Resources Defense          Clean Air Task Force
    Council                          41 Liberty Hill Road
  1152 15th St., Suite 300           Building 2, Suite 205
  Washington, DC 20005               Henniker, NH 03242
  (202) 289-6868                     (603) 428-8114
  jwalke@nrdc.org                    dmarshall@catf.us

  Attorney for NRDC                  Attorney for American Lung
                                     Association, Clean Air Council, and
                                     American Thoracic Society
USCA Case #11-1302      Document #1362257          Filed: 03/06/2012    Page 3 of 36



               CERTIFICATE AS TO PARTIES, RULINGS,
                       AND RELATED CASES

        Pursuant to Circuit Rule 28(a)(1), Respondent-Intervenors American

  Lung Association, Clean Air Council, Environmental Defense Fund, Natural

  Resources Defense Council, and Sierra Club and amicus American Thoracic

  Society (collectively, “Public Health Intervenors”) hereby certify as follows:

        Parties and Amici. Except for amicus American Thoracic Society,

  further identified below, all parties, intervenors, and amici appearing in this

  Court are listed in the Brief of Industry and Labor Petitioners.

        Rulings Under Review. The ruling under review is a final rule issued

  by the U.S. Environmental Protection Agency, “Federal Implementation

  Plans: Interstate Transport of Fine Particulate Matter and Ozone and

  Correction of SIP Approvals,” 76 Fed. Reg. 48208 (Aug. 8, 2011).

        Related Cases. This case consolidates with No. 11-1302 the

  following related petitions for review of the same final agency action: Nos.

  11-1315, 11-1323, 11-1329, 11-1338, 11-1340, 11-1350, 11-1357, 11-1358,

  11-1359, 11-1360, 11-1361, 11-1362, 11-1363, 11-1364, 11-1365, 11-1366,

  11-1367, 11-1368, 11-1369, 11-1371, 11-1372, 11-1373, 11-1374, 11-1375,

  11-1376, 11-1377, 11-1378, 11-1379, 11-1380, 11-1381, 11-1382, 11-1383,

  11-1384, 11-1385, 11-1386, 11-1387, 11-1388, 11-1389, 11-1390, 11-1391,



                                         i
USCA Case #11-1302     Document #1362257           Filed: 03/06/2012    Page 4 of 36



  11-1392, 11-1393, 11-1394, and 11-1395.           None of the consolidated

  petitions has previously been before this Court or any other court.

        Seven consolidated petitions for review of a related rule, “Federal

  Implementation Plans for Iowa, Michigan, Missouri, Oklahoma, and

  Wisconsin and Determination for Kansas Regarding Interstate Transport for

  Ozone,” 76 Fed. Reg. 80760 (Dec. 27, 2011), are pending in this Court

  under Public Service Co. of Oklahoma v. EPA, No. 12-1023.



                 CORPORATE DISCLOSURE STATEMENTS

        Pursuant to Fed. R. App. P. 26.1 and Circuit Rule 26.1, Public Health

  Intervenors provide the following corporate disclosure statements:

        Respondent-Intervenors Clean Air Council, Environmental Defense

  Fund, Natural Resources Defense Council, and Sierra Club state that they

  are nonprofit organizations focused on protection of public health and the

  environment.

        Respondent-Intervenor American Lung Association states that it is a

  national not-for-profit public health organization dedicated to saving lives by

  improving lung health and preventing lung disease.

        Amicus American Thoracic Society states that it is a national not-for-

  profit public health organization dedicated to preventing respiratory disease.


                                        ii
USCA Case #11-1302      Document #1362257            Filed: 03/06/2012   Page 5 of 36



        Public Health Intervenors have no outstanding shares or debt

  securities in the hands of the public, nor any parent, subsidiary or affiliate

  that has issued shares or debt securities to the public.


  DATED: March 6, 2012

                                          /s/ Sean H. Donahue
                                          Sean H. Donahue
                                          Donahue & Goldberg, LLP
                                          2000 L St. NW, Suite 808
                                          Washington, DC 30036
                                          (202) 777-7085
                                          sean@donahuegoldberg.com




                                         iii
USCA Case #11-1302     Document #1362257           Filed: 03/06/2012    Page 6 of 36



      AMICUS’ STATEMENT OF IDENTITY, INTEREST IN CASE,
             AND SOURCE OF AUTHORITY TO FILE

        Pursuant to Fed. R. App. P. 29(c)(4), amicus American Thoracic

  Society (“ATS”) states that it is an international educational and scientific

  organization founded in 1905. ATS and the approximately 18,000 physicians

  and scientists it represents help prevent and fight respiratory disease around

  the globe through research, education, patient care, and advocacy.

        ATS has strong interests in ensuring that regulatory requirements

  addressing significant contributions from upwind states to serious air

  pollution problems in downwind states are fully and timely enforced, and in

  addressing the arguments Petitioners make, which could have an adverse

  effect on EPA’s ability to implement statutory requirements in a timely

  manner.

        ATS’s authority to join in filing this brief is based on leave of this

  Court. By motion filed February 14, 2012, ATS sought leave to participate

  in this case as an amicus and more particularly to join in the brief for public

  health and environmental intervenors without alteration to the word limits or

  due date applicable to that brief established in the Court’s Order dated

  January 18, 2012. ATS’s motion was unopposed and was granted by the

  Court in an Order dated February 16, 2012.



                                        iv
USCA Case #11-1302     Document #1362257            Filed: 03/06/2012   Page 7 of 36



             AMICUS’ STATEMENT OF AUTHORSHIP AND
                  FINANCIAL CONTRIBUTIONS

        Pursuant to Fed. R. App. P. 29(c)(5), amicus American Thoracic

  Society states that this joint brief is being jointly submitted with

  Respondent-Intervenors American Lung Association, Clean Air Council,

  Environmental Defense Fund, Natural Resources Defense Council, and

  Sierra Club, whose counsel authored the brief and who funded the

  preparation and submission of the brief. Amicus states that no other party or

  person authored the brief in whole or in part or contributed money intended

  to fund its preparation or submission.



  DATED: March 6, 2012

                                           /s/ David Marshall
                                           David Marshall
                                           Clean Air Task Force
                                           41 Liberty Hill Road
                                           Building 2, Suite 205
                                           Henniker, NH 03242
                                           (603) 428-8114
                                           dmarshall@catf.us

                                           Attorney for Amicus
                                           American Thoracic Society




                                           v
USCA Case #11-1302    Document #1362257         Filed: 03/06/2012   Page 8 of 36



                          TABLE OF CONTENTS

  CERTIFICATE AS TO PARTIES, RULINGS, AND
      RELATED CASES ……………………………………………………....i
  CORPORATE DISCLOSURE STATEMENTS ………………………...…ii
  AMICUS STATEMENT OF IDENTITY, INTEREST IN CASE,
      AND SOURCE OF AUTHORITY TO FILE …………………………..iv
  AMICUS STATEMENT OF AUTHORSHIP AND FINANCIAL
      CONTRIBUTIONS ……………………...……………………………....v
  TABLE OF AUTHORITIES ……………………………………………...vii
  GLOSSARY ………………………………………………………………...x
  JURISDICTIONAL STATEMENT ………………………………………...1
  STATUTES AND REGULATIONS ……………………………………….1
  INTRODUCTION …………………………………………………………..1
  BACKGROUND ……………………………………………………………2
       A. Interstate Transport, Nonattainment, and Public Health ……….......2
       B. The Rule’s Attainment and Health Benefits …………………..…....5
  STANDARD OF REVIEW ………………………………………………...7
  SUMMARY OF ARGUMENT …………………………………………….7
  ARGUMENT ……………………………………………………………….8
  I. THE TRANSPORT RULE BUDGETS ARE LAWFUL AND
       REASONABLE ………………………………………………………..8
       A. EPA’s Emission Budget-Setting Methodology Adequately
          Accounts for the Resulting Improvements in Downwind
          Air Quality Status and Is Reasonable ……………………..…….......8
       B. EPA’s Modeling of Post-Implementation Air Quality
          Confirms that the Rule’s Emission Budgets Are
          Reasonable ………………………………………………………...11
  II. PETITIONERS IGNORE THE STATUTORY IMPERATIVE
       OF ACHIEVING TIMELY REDUCTIONS IN EMISSIONS
       THAT CONTRIBUTE TO DOWNWIND NONATTAINMENT
       PROBLEMS …………………………………………………………..17
  III. PETITIONERS’ INVOCATIONS OF FEDERALISM ARE
       MISPLACED …………………………………………………………21
  CONCLUSION ……………………………………………………………22
  CERTIFICATES OF COMPLIANCE AND SERVICE …………...……...24




                                      vi
USCA Case #11-1302     Document #1362257         Filed: 03/06/2012      Page 9 of 36



                        TABLE OF AUTHORITIES

  CASES

  Appalachian Power Co. v. EPA, 249 F.3d 1032 (D.C. Cir 2001) ………... 22

  Chevron USA Inc. v. NRDC, 467 U.S. 837 (1984) ………………………..11

  Georgia v. Tennessee Copper Co., 206 U.S. 230 (1907) ………………….21

  Massachusetts v. EPA, 549 U.S. 497 (2007) ………………………………21

  * Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000) ……………...4, 9, 11, 16

  Missouri v. Illinois, 180 U.S. 208, 241 (1901) …………………………….21

  Nat'l Cable & Telecomms. Ass'n v. Gulf Power Co.,
    534 U.S. 327 (2002) ……………………………………………………11

  New York v. EPA, 443 F.3d 880 (D.C. Cir. 2006) …………………………13

  * North Carolina v. EPA, 531 F.3d 896,
     remedy amended on rehearing,
     550 F.3d 1176 (D.C. Cir. 2008) ………………..2, 5, 7, 11, 17, 18, 19, 20

  Rivers v. Roadway Express, Inc., 511 U.S. 298 (1994) ……………..…….20

  Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 464-65 (2001) ………….17

  CLEAN AIR ACT

  42 U.S.C. § 7407(a) ………………………………………………………..21

  42 U.S.C. § 7410(a)(1) …………………………………………………….17

  * 42 U.S.C. § 7410(a)(2)(D)(i)(I) ……………………...2, 5, 7, 12, 15, 19, 21



  * Authorities upon which we chiefly rely are marked with asterisks.
                                       vii
USCA Case #11-1302    Document #1362257         Filed: 03/06/2012   Page 10 of 36




   42 U.S.C. § 7410(c)(1) ………………………………………………...19, 21

   42 U.S.C. § 7410(f) ………………………………………………………..19

   42 U.S.C. § 7410(k)(1)-(2) ………………………………………………...19

   42 U.S.C. § 7410(k)(5) …………………………………………………….19

   42 U.S.C. § 7426(b)-(c) ……………………………………………………21

   42 U.S.C. § 7470(1) ……………………………………………………….21

   42 U.S.C. § 7502(a)(2)(A) …………………………………………….17, 18

   42 U.S.C. § 7511(a)(1) …………………………………………..…….17, 18

   42 U.S.C. § 7607(b)(1) ……………………………………………………...1

   42 U.S.C. § 7607(d)(9) ……………………………………………………...7

   FEDERAL REGISTER

   43 Fed. Reg. 8962 (March 3, 1978) ………………………………………...4

   63 Fed. Reg. 57356 (Oct. 27, 1998) ……………………………………….16

   70 Fed. Reg. 25162 (May 12, 2005) ……………………..…………………2

   73 Fed. Reg. 16436 (Mar. 27, 2008) ……………………….……………...14

   75 Fed. Reg. 45210 (Aug. 2, 2010) …………………………………..3, 4, 16

   * 76 Fed. Reg. 48208 (Aug. 8, 2011) ………........……2, 3, 5, 6, 7, 9, 10, 12,
                                                   13, 14, 15, 16, 18, 19, 22




                                      viii
USCA Case #11-1302       Document #1362257            Filed: 03/06/2012     Page 11 of 36



   76 Fed. Reg. 80760 (Dec. 27, 2011) ………………………………………13

   77 Fed. Reg. 8197 (Feb. 14, 2012) ………………………………………..14

   OTHER AUTHORITIES

   EPA, Air Quality Modeling Final Rule Technical Support
     Document (June 2011), EPA-HQ-OAR-2009-0491-4140
     (JA ___) (“Air Quality TSD”) ……………………………..….13, 14, 15

   EPA, Green Book, Part 6 - Historical Whole or Part County
     Nonattainment Status by Year Since 1978, available at
     http://www.epa.gov/oaqps001/greenbk/multipol.html ..............................4

   EPA, Significant Contribution and State Emissions Budgets
     Final Rule TSD (July 2011), EPA-HQ-OAR-2009-0491-4456
     (JA ___) (“Significant Contribution TSD”) ……………………….11, 16

   Fann, N., et al., Estimating the National Public Health Burden Associated
     with Exposure to Ambient PM2.5 and Ozone; Risk Analysis, 2012,
     vol. 32, No. 1, EPA-HQ-OAR-2009-0491-4444 ……………………..3, 4

   Mellinger-Birdsong, Anne, MD, MPH, FAAP, Testimony at
     September 1, 2010 Public Hearing on Proposed Transport Rule,
     EPA-HQ-OAR-2009-0491-0516 (JA ___) ……………………………...3

   Rodgers, William H., Jr., Environmental Law § 3.16 (2009) ………………4




   * Authorities upon which we chiefly rely are marked with asterisks.
                                           ix
USCA Case #11-1302    Document #1362257           Filed: 03/06/2012    Page 12 of 36



                                  GLOSSARY

   Act               Clean Air Act

   CAIR              Rule to Reduce Interstate Transport of Fine Particulate
                     Matter and Ozone (Clean Air Interstate Rule); Revisions
                     to Acid Rain Program; Revisions to the NOx SIP Call, 70
                     Fed. Reg. 25162 (May 12, 2005)

   $/ton             Dollars per ton of pollutant emitted or removed

   EPA Br.           Brief for Respondent

   Industry Br.      Opening brief for Industry and Labor Petitioners

   µg/m3             Micrograms per cubic meter

   NAAQS             National Ambient Air Quality Standard

   NOx               Nitrogen oxides

   PM2.5             Fine particulate matter

   ppb               Parts per billion

   ppm               Parts per million

   SO2               Sulfur dioxide

   State Br.         Opening brief for State and Local Petitioners

   Transport Rule    Federal Implementation Plans: Interstate Transport of
                     Fine Particulate Matter and Ozone and Correction of SIP
                     Approvals, 76 Fed. Reg. 48208 (Aug. 8, 2011)




                                         x
USCA Case #11-1302      Document #1362257           Filed: 03/06/2012    Page 13 of 36



                      JURISDICTIONAL STATEMENT

         This Court’s jurisdiction rests upon 42 U.S.C. 7607(b)(1).

                      STATUTES AND REGULATIONS

         Applicable statutes and regulations are set forth in Petitioners’ briefs.

                                INTRODUCTION

         Respondent-Intervenors American Lung Association (“ALA”), Clean

   Air Council (“CAC”), Environmental Defense Fund (“EDF”), Natural

   Resources Defense Council (“NRDC”), and Sierra Club and amicus

   American Thoracic Society (“ATS”) are nonprofit organizations dedicated

   to protecting public health and the environment.1

         Air quality that fails to comply with the Clean Air Act’s National

   Ambient Air Quality Standards (“NAAQS”) kills and sickens thousands of

   Americans every year and causes a variety of serious harms to public

   welfare. Pollution from upwind states often makes it difficult (and in some

   cases, impossible) for downwind states to attain and maintain the NAAQS

   for fine particulate matter (“PM2.5”) and ozone through local pollution

   controls alone, as upwind states often lack incentives to control emissions

   that produce adverse effects primarily felt elsewhere.        While interstate


   1
     The organizations’ motions to intervene and participate detail their
   interests and involvement in the rulemaking. See Docs. 1328729 (EDF,
   CAC, Sierra Club), 1331171 (ALA), 1331218 (NRDC), 1358426 (ATS).
                                          1
USCA Case #11-1302     Document #1362257          Filed: 03/06/2012   Page 14 of 36



   pollution has long been recognized as a serious national problem,

   determining the relative contributions of multiple pollution sources (and the

   affected state itself) and defining appropriate remedies has proven

   technically complex and contentious.

         The Cross-State Air Pollution Rule, 76 Fed. Reg. 48208 (Aug. 8,

   2011) (“Transport Rule” or “Rule”), is EPA’s response to North Carolina v.

   EPA, 531 F.3d 896, remedy amended on rehearing, 550 F.3d 1176 (D.C.

   Cir. 2008), which held unlawful EPA’s predecessor interstate transport

   regulation, the Clean Air Interstate Rule (“CAIR”), 70 Fed. Reg. 25162

   (May 12, 2005), primarily due to CAIR’s failure to provide downwind states

   sufficiently certain and expeditious protection pursuant to the Clean Air

   Act’s “good neighbor” provision, 42 U.S.C. 7410(a)(2)(D)(i)(I).

                                BACKGROUND

         EPA (Br. 5-11) sets out the statutory and regulatory background. We

   add the following brief discussion:

         A. Interstate Transport, Nonattainment, and Public Health.

         Elevated levels of PM2.5 and ozone represent major public health

   problems. PM2.5 is a complex mix of chemicals (including precursors sulfur

   dioxide (“SO2”) and nitrogen oxides (“NOx”)), hydrocarbons, and other

   substances associated with a wide range of serious human health effects,


                                          2
USCA Case #11-1302        Document #1362257           Filed: 03/06/2012   Page 15 of 36



   including premature death, aggravation of respiratory and cardiovascular

   disease, lung cancer and other lung disease, decreased lung function, asthma

   attacks and non-fatal heart attacks.2 Ozone, formed when NOx and volatile

   organic compounds are exposed to heat and sunlight, is a respiratory irritant

   that also poses serious health threats, including premature death, reduced

   lung function, respiratory inflammation and asthma.3 Ozone and PM2.5 are

   particularly harmful to children, whose still-developing lungs are more

   vulnerable to air pollution than are adults’ lungs, and who experience

   increased exposure because they breathe faster, are more physically active,

   and spend more time outdoors.4

            In 2005, PM2.5 exposure was responsible for between 130,000 and

   340,000 premature deaths from poor air quality, and ozone exposure for an

   additional 4700 premature deaths – more U.S. deaths than occurred that year

   from all accidents (120,000).5 In addition, PM2.5 and ozone pollution are

   responsible for a variety of non-fatal but serious and costly health impacts,


   2
    See, e.g., 75 Fed. Reg. at 45219; Testimony of Anne Mellinger-Birdsong,
   MD, MPH, FAAP, EPA-HQ-OAR-2009-0491-0516 (JA _-_). See also N.
   Fann, et al., Estimating the National Public Health Burden Associated with
   Exposure to Ambient PM2.5 and Ozone; Risk Analysis, 2012, vol. 32, No. 1,
   81-95, EPA-HQ-OAR-2009-0491-4444.
   3
       See, e.g., 75 Fed. Reg. at 45220; see also Fann, supra note 2.
   4
       See Mellinger-Birdsong, supra, note 2 (JA _-_).
   5
       76 Fed. Reg. at 48309 (citing Fann, supra note 2).
                                            3
USCA Case #11-1302     Document #1362257          Filed: 03/06/2012   Page 16 of 36



   including millions of cases of respiratory symptoms, asthma exacerbation,

   lost work and school days, and over 100 million restricted-activity days for

   children.6

         High mortality and morbidity from PM2.5 and ozone continue more

   than 40 years after passage of the 1970 Act in large part because these

   pollutants (and their primary precursors, SO2 and NOx) can be blown by

   prevailing winds hundreds of miles, across state lines, thus impairing air

   quality in downwind states that have no regulatory jurisdiction over the

   originating emission sources. See, e.g., 75 Fed. Reg. at 45226-27, 45230,

   45236. See also Michigan v. EPA, 213 F.3d 663, 674 (D.C. Cir. 2000);

   William H. Rodgers, Jr., Environmental Law § 3.16 (2009) (“one of the

   more intractable problems of air quality”). Degraded air quality resulting

   from pollution transport has been a major factor in chronic nonattainment

   problems in many areas of the country.7


   6
     Fann, supra note 2, at Table I. PM2.5 and ozone, among other harms,
   reduce visibility in parks and wilderness areas, impair ecosystems, and
   damage crops and forests. See, e.g., 75 Fed. Reg. at 45219-20.
   7
     For example, several of the downwind locations the Transport Rule is
   designed to benefit were first designated nonattainment for ozone in 1978,
   when EPA first began making such designations, 43 Fed. Reg. 8962 (March
   3, 1978), and have continued to suffer some form of ozone nonattainment
   continuously ever since. See EPA, Green Book, Part 6 - Historical Whole or
   Part County Nonattainment Status by Year Since 1978, available at
   http://www.epa.gov/oaqps001/greenbk/multipol.html (last visited March 4,
                                        4
USCA Case #11-1302        Document #1362257          Filed: 03/06/2012    Page 17 of 36



         In 1970, 1977, and 1990, Congress enacted progressively more

   exigent provisions requiring that State Implementation Plans (“SIPs”)

   address transport. See EPA Br. 6-7 & n.5. The current provision requires

   each SIP to contain adequate provisions “prohibiting, consistent with the

   provisions of this subchapter, any source or other type of emissions activity

   within the State . . . which will . . . contribute significantly to nonattainment

   in, or interfere with maintenance by, any other State.”               42 U.S.C.

   7410(a)(2)(D)(i)(I).

         B. The Rule’s Attainment and Health Benefits.

         The Transport Rule implements Section 7410(a)(2)(D)(i)(I) and the

   North Carolina decision by requiring upwind states to eliminate, in a timely

   way, significant contributions to NAAQS attainment and maintenance

   problems affecting much of the United States population, including the

   residents of metropolitan areas such as New York, Chicago, Baltimore,

   Detroit, Houston, Atlanta, Cleveland, St. Louis, Pittsburgh, Cincinnati,

   Milwaukee, Indianapolis, Dayton, Birmingham, Harrisburg, and Baton

   Rouge. 8 EPA projects that the Rule will substantially assist numerous

   downwind states in meeting, in accordance with applicable deadlines, their

   2012). These areas include the New York, Baltimore, Houston, and Baton
   Rouge metropolitan areas. Id.; see also 76 Fed. Reg. at 48246.
   8
    EPA has projected ozone or PM2.5 nonattainment or maintenance problems
   at monitors in each of these metropolitan areas. 76 Fed. Reg. at 48241-46.
                                          5
USCA Case #11-1302      Document #1362257          Filed: 03/06/2012    Page 18 of 36



   PM2.5 and ozone attainment and maintenance obligations. 76 Fed. Reg. at

   48307-08. For example, the Rule will allow all downwind states in the

   Transport Rule region to attain the annual PM2.5 NAAQS, and will reduce

   the number of sites with 24-hour PM2.5 attainment or maintenance problems

   from 41 to 5. Id.

         The Rule will save tens of thousands of lives per year, avoid hundreds

   of thousands of serious illnesses, and improve air quality for 240 million

   Americans.      Id. at 48309, 48313-14.    EPA determined that the PM2.5

   improvements under the Transport Rule will, starting in 2014,

         annually reduce between 13,000 and 34,000 PM2.5-related
         premature deaths, 15,000 non-fatal heart attacks, 8,700
         incidences of chronic bronchitis, 8,500 hospital admissions, and
         400,000 cases of aggravated asthma while also reducing 10
         million days of restricted activity due to respiratory illness and
         approximately 1.7 million work-loss days. We also estimate
         substantial health improvements for children from fewer cases
         of upper and lower respiratory illness and acute bronchitis.

   Id. at 48309.

         Some of the benefits of the Rule, such as avoided premature deaths,

   health care costs and productivity losses, may be monetized using accepted

   methodology. EPA calculated that “the annual net benefit (social benefits

   minus social costs)” in 2014 would be $110 to $280 billion. Id. at 48313-14.

   The Rule will also provide a wide variety of significant health and welfare

   benefits for which the agency did not assign a monetary value, including
                                         6
USCA Case #11-1302      Document #1362257         Filed: 03/06/2012   Page 19 of 36



   environmental benefits such as reduced acid deposition and eutrophication

   of estuaries. See id. at 48315-17.

                           STANDARD OF REVIEW

         The Rule must be upheld unless it is shown to be “arbitrary,

   capricious, an abuse of discretion, or otherwise not in accordance with law.”

   42 U.S.C. 7607(d)(9); see EPA Br. 11-12.

                         SUMMARY OF ARGUMENT

         The Transport Rule is a lawful and reasonable response to North

   Carolina, in which this Court directed EPA to correct fatal flaws in the pace

   and scope of protections for downwind areas. By requiring long-overdue

   reductions in interstate air pollution, the Rule will allow numerous populous

   areas of the country to attain and maintain NAAQS, providing massive

   benefits for public health and large net benefits to the national economy.

   EPA’s brief ably explains why Petitioners’ myriad challenges to the Rule

   lack merit. In this brief, we address Petitioners’ broad challenges to the

   Rule’s budget-setting methodology, and point out two overarching flaws in

   Petitioners’ attacks on the Rule.

         Contrary to Industry Petitioners’ claims, EPA set the Rule’s budgets

   based upon a reasonable interpretation of Section 110(a)(2)(D)(i)(I) and at




                                        7
USCA Case #11-1302       Document #1362257         Filed: 03/06/2012    Page 20 of 36



   levels that were fully justified (and indeed conservative) given the record

   before the agency.

         Petitioners’ attacks simply ignore affected downwind states’ need to

   attain NAAQS “as expeditiously as practicable” and by imminent statutory

   deadlines, considerations central to the North Carolina decision.

         Finally, in protecting downwind states and their ability to comply with

   the Act, the Rule is fully consistent with the Clean Air Act’s cooperative

   federalism scheme.

                                  ARGUMENT

   I. THE TRANSPORT RULE BUDGETS ARE LAWFUL AND
      REASONABLE.

      A. EPA’s Emission Budget-Setting Methodology Adequately
         Accounts for the Resulting Improvements in Downwind Air
         Quality Status and Is Reasonable.

         Industry Petitioners (Br. 29) characterize EPA’s budget-setting

   methodology as premised solely on cost-effectiveness, and assert that it

   lacks a limiting principle sufficiently related to downwind nonattainment or

   maintenance status.    This characterization is simply wrong.       Petitioners

   ignore the multiple ways in which EPA’s methodology used projected

   downwind air quality status in determining the stringency of the Rule’s

   emission budgets.


                                         8
USCA Case #11-1302      Document #1362257          Filed: 03/06/2012   Page 21 of 36



            In the Transport Rule (as in prior interstate transport rules) EPA

   employed a multi-step process integrating inputs and output from separate

   models focused on air pollution flows, power sector operations, and

   emissions from other source categories.      See generally 76 Fed. Reg. at

   48224-65. EPA did account for the air quality status at downwind monitors,

   but, rather than focusing exclusively on that single factor, EPA considered it

   in combination with other relevant factors, most notably the cost-

   effectiveness of emission reductions. Id.; see also Michigan, 213 F.3d at

   677 (noting that “[t]he term ‘significant’” would be “a very odd choice to

   express unidimensionality”); EPA Br. 21-22 & n.11.

         EPA factored in projected downwind air quality at multiple stages of

   this integrated process.   Air quality projections for the base case were

   considered twice: first, to distinguish monitors with attainment or

   maintenance problems from monitors without problems, and then, in

   conjunction with source-apportionment modeling, to identify upwind states

   whose emissions reached the relevant downwind monitors in sufficient

   quantities to cause the states to be “linked” to those monitors and therefore

   potentially subject to emission reduction requirements. See 76 Fed. Reg. at

   48211.




                                         9
USCA Case #11-1302      Document #1362257          Filed: 03/06/2012   Page 22 of 36



         At the next stages, EPA considered changes in projected attainment or

   maintenance status to evaluate potential cost thresholds for use in setting

   emission budgets and to select the cost thresholds that were ultimately

   applied.    Id. at 48248.   Also, for purposes of the PM2.5 program, the

   projected air quality status of linked downwind monitors following emission

   reductions achievable at a $500/ton cost threshold was used to determine

   whether each upwind state would be assigned to SO2 Group 1 or Group 2.

   Id. at 48257.9 Finally, for purposes of the ozone program, EPA considered

   the projected air quality status of each upwind state’s linked downwind

   monitors following implementation of the Rule in order to determine

   whether implementation would constitute full or only partial compliance

   with section 110(a)(2)(D)(i)(I) for that upwind state. See 76 Fed. Reg. at

   48247. 10

   9
     See 76 Fed. Reg. at 48257 (discussing SO2 Groups); EPA Br. 18. Industry
   Petitioners object to a purported failure by EPA to use downwind air quality
   status as a limiting principle in setting state emission budgets, Industry Br.
   29, while simultaneously objecting to EPA’s use of downwind air quality
   status in assigning states between SO2 Groups 1 and 2, Industry Br. 32-33,
   even though the group assignments were carried out for the specific purpose
   of setting the emission budgets for the respective states.
   10
     The states for which Transport Rule implementation would constitute only
   partial compliance remain potentially subject to a future rule with respect to
   the 1997 ozone NAAQS. 76 Fed. Reg. at 48247. In addition, all states
   remain subject to likely further NOx reduction requirements with respect to
   the more stringent 2008 ozone NAAQS, which is not addressed by the
   Transport Rule.
                                        10
USCA Case #11-1302     Document #1362257          Filed: 03/06/2012   Page 23 of 36



          In summary, Petitioners’ contention that EPA’s methodology failed to

   appropriately incorporate stringency limits based on downwind air quality

   status achieved is without merit.   Particularly given the broad statutory

   phrasing, see Michigan, 213 F.3d at 677, and the “technical, complex, and

   dynamic” subject-matter, see Nat'l Cable & Telecomms. Ass'n v. Gulf Power

   Co., 534 U.S. 327, 339 (2002) (citing Chevron USA Inc. v. NRDC, 467 U.S.

   837, 842-43 (1984)), EPA’s interpretation and approach are clearly

   permissible.


        B. EPA’s Modeling of Post-Implementation Air Quality Confirms
           That the Rule’s Emission Budgets Are Reasonable.

          Petitioners assert that EPA’s modeling of 2014 post-implementation

   air quality shows that the Rule’s emission budgets are more stringent than

   necessary to eliminate upwind states’ significant contribution. Industry Br.

   28-29. However, in doing so, they improperly cite data for “averages” and

   “majorities” of all linked downwind monitors rather than data for the worst-

   affected monitors. Id.; see also Significant Contribution TSD at 35-36 (J.A.

   _-_).11 The data Petitioners cite are simply irrelevant to an assessment of




   11
     Petitioners further mislead by citing figures based on “average” design
   values, ignoring the North Carolina court’s admonition to give independent
   meaning to “interfere with maintenance,” 531 F.3d at 908-11, which EPA
                                       11
USCA Case #11-1302      Document #1362257           Filed: 03/06/2012   Page 24 of 36



   whether the budgets are overly stringent.        Properly interpreted, EPA’s

   modeling of post-implementation air quality indicates that EPA set the

   budgets at levels less stringent than could have been justified.

         The moderation of the emission budgets overall is evident from the

   fact that EPA’s projections of post-implementation air quality show multiple

   monitors with continued nonattainment or maintenance problems. 76 Fed.

   Reg. at 48247.      Because most upwind states are linked to multiple

   downwind areas, emission reductions needed in particular sets of upwind

   states in order to eliminate “significant” contribution to a given downwind

   area will necessarily also improve air quality in other downwind areas linked

   to the same upwind states; this collateral benefit comes without regard to

   whether the same degree of upwind emission reductions is also “needed” in

   those additional downwind areas. See EPA Br. 37-39 & nn. 23, 25. The

   appropriate criterion for evaluating the degree to which air quality problems

   relevant to the Rule have been resolved is air quality at the most-affected

   linked downwind locations, not the “average” air quality across all linked

   downwind locations. See 42 U.S.C. 7410(a)(2)(D)(i)(I) (prohibiting upwind

   emissions causing air quality problems in “any other State”) (emphasis



   has done by basing its analysis in part on the higher “maximum” design
   values.
                                         12
USCA Case #11-1302     Document #1362257           Filed: 03/06/2012   Page 25 of 36



   added); see also New York v. EPA, 443 F.3d 880, 885-86 (D.C. Cir. 2006)

   (emphasizing breadth of “any” in Clean Air Act context).

         The 2014 post-implementation air quality modeling results also

   demonstrate that the individual state emission budgets are not excessively

   stringent, but rather are entirely reasonable. These budgets do not attempt to

   resolve all downwind air problems. In the case of ozone, eleven of the states

   included in that program are linked to at least one ozone monitor projected

   to have continuing air quality problems following implementation of the

   Rule. 76 Fed. Reg. at 48247. 12 All the remaining states are linked to

   monitors with projected maximum ozone design values between 83.1 and

   83.6 ppb (or 0.0831 and 0.0836 ppm), 13 levels of air quality that with

   rounding would meet – but certainly not “overcomply” with – the 1997 8-

   hour ozone NAAQS of 0.08 ppm. Further, none of the downwind ozone

   monitors linked to any of the upwind states in the ozone program is




   12
     This group includes Missouri, one of the states added to the Rule’s ozone
   program by the supplemental rule, 76 Fed. Reg. 80760 (Dec. 27, 2011).
   13
     See 76 Fed. Reg. at 48246 (ozone linkages); Air Quality TSD at B-3 to B-
   34 (ozone remedy maximum design values) (JA __-__).
                                        13
USCA Case #11-1302        Document #1362257       Filed: 03/06/2012   Page 26 of 36



   projected to have air quality attaining the 2008 8-hour ozone NAAQS of

   0.075 ppm.14

            Thus, while EPA has based the Rule’s budgets on the 1997 ozone

   NAAQS and has determined that implementation of the Rule will satisfy

   certain of the states’ section 110(a)(2)(D)(i)(I) compliance obligations, 76

   Fed. Reg. at 48247, there is strong evidence that all of these states are

   already subject to additional section 110(a)(2)(D)(i)(I) compliance

   obligations with respect to the 2008 ozone NAAQS and that those additional

   obligations exceed any emission reductions the states are required to make

   under the Rule’s ozone budgets.

            In the case of the Rule’s PM2.5 program, 15 of the 16 SO2 Group 1

   states are linked to at least one PM2.5 monitor projected to have continuing

   air quality problems in 2014 following implementation of the Rule. 15 Most

   of these Group 1 states are linked to multiple such monitors in multiple

   downwind states. 16      The final Group 1 state (Tennessee) is linked to

   monitors in two different states with projected 24-hour PM2.5 maximum
   14
     See 73 Fed. Reg. 16436 (Mar. 27, 2008) (2008 ozone NAAQS); 77 Fed.
   Reg. 8197 (Feb. 14, 2012) (2008 ozone NAAQS proposed implementation
   schedule); sources supra note 13.
   15
     See 76 Fed. Reg. at 48213 tbl.III-1 (identifying states in Groups 1 and 2);
   id. at 48242-44 (24-hour PM2.5 linkages); Air Quality TSD at B-64 to B-92
   (24-hour PM2.5 remedy maximum design values) (JA __-__).
   16
        See sources supra note 15.
                                        14
USCA Case #11-1302        Document #1362257          Filed: 03/06/2012   Page 27 of 36



   design values of 34.5 µg/m3,17 within rounding distance of the NAAQS of

   35 µg/m3.      There is no indication from EPA’s post-implementation air

   quality projections that the emission budgets for the states in SO 2 Group 1

   are excessively stringent.

            By definition, see 76 Fed. Reg. at 48252, the states in SO2 Group 2 are

   not linked to downwind PM2.5 monitors projected to have continuing air

   quality problems following implementation of the Rule. EPA’s modeling of

   post-implementation air quality confirms this intended characteristic, 18

   although projected air quality at some of the relevant monitors is only

   slightly better than the levels at which EPA projects potential NAAQS

   maintenance difficulties, including a Birmingham-area monitor with an

   annual PM2.5 maximum design value of 14.21 µg/m3 (compared to the

   NAAQS of 15 µg/m3), Air Quality TSD at B-35 (JA _-_), and a Chicago-

   area monitor with a 24-hour PM2.5 maximum design value of 34.3 µg/m3

   (compared to the NAAQS of 35 µg/m3), Air Quality TSD at B-69 (JA __-_).

   The SO2 emission budgets for the Group 2 states represent emissions

   remaining after reductions that are economic at a cost-effectiveness

   threshold of $500/ton. EPA chose this threshold because “$500 per ton is a
   17
        See sources supra note 15.
   18
    See sources supra note 15; see also 76 Fed. Reg. at 48242-44 (annual
   PM2.5 linkages); Air Quality TSD at B-35 to B-63 (annual PM2.5 remedy
   maximum design values) (JA __-__).
                                          15
USCA Case #11-1302      Document #1362257           Filed: 03/06/2012    Page 28 of 36



   reasonably representative cost threshold to incentivize operation of existing

   control equipment, and higher cost thresholds may induce new advanced

   control retrofits that require a longer lead time for installation.” Significant

   Contribution TSD at 6 (JA _-_).

         The conservatism of EPA’s choice is indicated by its modeling of

   alternative cost-effectiveness thresholds at the proposal stage, which showed

   continued reduction in the number of monitors with air quality issues for

   annual PM2.5 through the slightly higher $600/ton threshold.19 75 Fed. Reg.

   at 45280 tbl.IV.D-3. Additionally, EPA has correctly noted that Michigan

   allows it to set cost thresholds for groups of states where appropriate, rather

   than setting individual thresholds for each state, 76 Fed. Reg. at 48257

   (citing Michigan, 213 F.3d at 679-80). Finally, EPA has stated that its

   analysis showed that the Group 2 states required similar cost thresholds in

   order to resolve all air quality problems at linked downwind monitors, id., a

   statement consistent with the post-implementation modeling results for the

   Birmingham and Chicago monitors noted above.

         In short, the record demonstrates that EPA has not set the SO2 Group

   2 emission budgets at excessively stringent levels.

   19
      The $500/ton threshold is also much lower than thresholds used in prior
   Section 110(a)(2)(D)(i)(I) rulemakings. See, e.g., 63 Fed. Reg. 57356 (Oct.
   27, 1998) (using $2000/ton threshold for NOx reductions from all covered
   states).
                                         16
USCA Case #11-1302     Document #1362257          Filed: 03/06/2012    Page 29 of 36



   II.   PETITIONERS IGNORE THE STATUTORY IMPERATIVE
         OF ACHIEVING TIMELY REDUCTIONS IN EMISSIONS
         THAT CONTRIBUTE TO DOWNWIND NONATTAINMENT
         PROBLEMS.

         A common theme in Petitioners’ arguments is that EPA asked too

   much, too quickly, of upwind states and sources, and that the elaborate

   analyses EPA performed were not elaborate enough.           As EPA’s brief

   demonstrates, each of these arguments lacks merit. But all of Petitioners’

   arguments are further weakened by their failure even to acknowledge the

   interest in timely reductions that is expressed in the statute and that was

   highlighted in North Carolina.

         The very core of the Act, the NAAQS are designed to ensure that

   pollution concentrations fall within bounds that protect public health. See

   Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 464-65 (2001). The Act

   places a premium on timely attainment of those standards: Section 110(a)(1)

   requires states to submit conforming SIP revisions within three years after

   promulgation of a new or revised NAAQS, 42 U.S.C. 7410(a)(1), and

   Section 172(a)(2)(A) provides that an area designated as nonattainment

   must, absent an extension from EPA, attain NAAQS “as expeditiously as

   practicable, but no later than 5 years from the date such area was designated

   nonattainment,” 42 U.S.C. 7502(a)(2)(A); see also id. 7511(a)(1).



                                        17
USCA Case #11-1302      Document #1362257          Filed: 03/06/2012    Page 30 of 36



         In North Carolina, this Court held that one of CAIR’s primary flaws

   was EPA’s failure to coordinate that rule’s timing of upwind emission

   reduction requirements with the NAAQS compliance deadlines faced by the

   affected downwind states. 531 F.3d at 911-12. As this Court explained, this

   violated the “consistent with the provisions of this subchapter” language,

   which incorporates the compliance deadlines of downwind states and their

   “expeditiously as practicable” obligation. Id. at 912; see also id. at 930

   (EPA “must decide what date, whether 2015 or earlier, is as expeditious as

   practicable for states to eliminate their significant contributions to downwind

   nonattainment”).

        “[C]onsistent with the charge given * * * in North Carolina,” EPA

   aligned the Transport Rule compliance dates with attainment deadlines for

   the relevant NAAQS. 76 Fed. Reg. at 48277. For the 1997 ozone NAAQS,

   EPA required compliance in 2012, and for the 1997 and 2006 PM2.5

   NAAQS, EPA established a two-stage compliance schedule with a first

   round of NOx and SO2 reductions required in 2012, and a second, deeper

   round of SO2 reductions required in 2014 for some states.

         In selecting these dates, EPA was mindful of the NAAQS
         attainment deadlines which require reductions as expeditiously
         as practicable and no later than specified dates (see 42 U.S.C.
         7502(a)(2)(A) (general attainment dates); 42 U.S.C. 7511(a)(1)
         (attainment dates for ozone nonattainment areas)), and also
         mindful of the court’s instruction to “decide what date, whether
                                         18
USCA Case #11-1302     Document #1362257          Filed: 03/06/2012   Page 31 of 36



         2015 or earlier, is as expeditious as practicable for states to
         eliminate their significant contributions to downwind
         nonattainment.” North Carolina, 531 F.3d at 930.

   76 Fed. Reg. at 48277. EPA explained in detail how the schedule for

   implementing the Rule was necessary in light of imminent attainment

   deadlines for each of the three NAAQS, including deadlines falling in 2012,

   2013, 2014, and 2015. See id. at 48277-78.

         Petitioners’ attacks on the Rule consistently disregard the urgent

   interest in achieving timely reductions in upwind states’ contribution to

   downwind states’ nonattainment problems. For example, State Petitioners

   assert that upwind States “should have no obligation,” State Br. 22, to

   address interstate pollution until EPA finalizes regulations under Section

   110(a)(2)(D), and that, notwithstanding the “shall” in 42 U.S.C. 7410(c)(1),

   EPA may only proceed by means of a SIP call, State Br. 22, with the implied

   result that upwind states would not be required to reduce their emissions for

   at least another two years.20 Given their position here, Industry Petitioners

   would likely insist that, even then, any rule requiring material SO 2

   reductions must provide a further three to five years for installation of

   scrubbers. See Industry Br. 52 n.44. In short, Petitioners would have EPA

   20
     See 42 U.S.C. 7410(k)(5) (providing states up to 18 months to respond to
   a SIP call); id. 7410(f) (requiring public notice and comment for SIP
   revisions); id. 7410(k)(1)-(2) (providing EPA up to 14 months to act on a
   proposed SIP revision).
                                        19
USCA Case #11-1302       Document #1362257          Filed: 03/06/2012     Page 32 of 36



   ignore the attainment deadlines and the “as expeditiously as practicable”

   requirement that this Court emphasized in North Carolina.

          Petitioners also seek to turn this Court’s timeliness-focused North

   Carolina decision itself into a basis for delays in achieving emissions

   reductions. State Petitioners complain that they are being “penalized for

   EPA’s mistakes” (Br. 28) in CAIR – even though North Carolina ruled that

   CAIR failed to protect downwind states as provided in the Act. And State

   Petitioners (Br. 25-26) would deprive North Carolina of the force normally

   given court decisions; they contest EPA’s conclusion that prior SIP

   approvals based on CAIR were erroneous and thus no bar to EPA’s

   promulgation of remedial Federal Implementation Plans (“FIPs”). But EPA

   was correct. See Rivers v. Roadway Express, Inc., 511 U.S. 298, 312-13

   (1994) (“A judicial construction of a statute is an authoritative statement of

   what the statute meant before as well as after the decision of the case giving

   rise to that construction.”).

   III.   PETITIONERS’ INVOCATIONS OF FEDERALISM ARE
          MISPLACED.

          Petitioners repeatedly invoke federalism-based background principles,

   asserting that the Transport Rule “radically alters the CAA’s federal-State

   balance of power.” State Br. 27; see id. at 4-5, 28; Industry Br. 5.



                                         20
USCA Case #11-1302      Document #1362257           Filed: 03/06/2012    Page 33 of 36



         That “[e]ach State shall have the primary responsibility for assuring

   air quality within * * * such State,” 42 U.S.C. 7407(a) (emphasis added), is

   an important principle under the Act, but that “responsibility” does not

   include a right to pollute neighboring states or unfettered discretion about

   when to reduce interstate pollution. See, e.g., 42 U.S.C. 7410(a)(2)(D),

   7426(b)-(c), 7470(1). Long before provisions like Section 110(a)(2)(D)(i)(I)

   became law, it was recognized that the “sovereign” interests of downwind

   states obligate the national government to protect their “fair and reasonable

   demand” “not to be polluted on a grand scale.” See Georgia v. Tennessee

   Copper Co., 206 U.S. 230, 237 (1907).21

         State Petitioners insist (Br. 20-28) that EPA has violated a federalism–

   driven requirement to always prefer a SIP Call over a FIP. But as EPA

   explains (Br. 44-52), Section 110(c)(1), 42 U.S.C. 7410(c)(1) provides that

   EPA “shall” impose a FIP “at any time within two years” when, as here,

   either of the specified conditions is met. Section 110(c)(1) is part of a

   statutory scheme that reflects a careful balance between states’ responsibility

   for air quality management decisions within their borders and EPA’s

   21
      See also Missouri v. Illinois, 200 U.S. 496, 518 (1906) (interstate pollution
   is a federal issue because “[d]iplomatic powers and the right to make war
   having been surrendered [by the states] to the general government, it was to
   be expected that upon the latter would be devolved the duty of providing a
   remedy . . . .”); Massachusetts v. EPA, 549 U.S. 497, 519-20 (2007).
                                         21
USCA Case #11-1302      Document #1362257          Filed: 03/06/2012    Page 34 of 36



   responsibility to see that health-based national standards are satisfied within

   the timeframe designated by Congress. It may not be ignored based upon

   general principles of state responsibility. Cf. Appalachian Power Co. v.

   EPA, 249 F.3d 1032, 1046 (D.C. Cir. 2001).22 The rendition of federalism

   spun out in Petitioners’ briefs, heavy on asserted immunities and light on

   mutual obligations, is not the Act’s cooperative federalism. EPA properly

   acted to protect the statutory rights of downwind states in accordance with

   this Court’s instructions.

                                 CONCLUSION

         The petitions for review should be denied.




   22
     States are free to obtain approval of a SIP for 2013 allowance allocations
   and to replace the FIP entirely for 2014 and beyond. See 76 Fed. Reg. at
   48212 n.8, 48327; see also EPA Br. 48 (noting that states were free to
   amend SIPs to reduce interstate pollution before Transport Rule was
   promulgated).
                                         22
USCA Case #11-1302    Document #1362257         Filed: 03/06/2012   Page 35 of 36




                                 Respectfully submitted,


                                 /s/ Sean H. Donahue
                                 Sean H. Donahue


   David T. Lifland                         George Hays
   Vickie L. Patton                         236 West Portal Ave., No. 110
   Environmental Defense Fund               San Francisco, CA 94127
   2060 Broadway, Suite 300                 (415) 566-5414
   Boulder, CO 80302                        georgehays@mindspring.com
   (303) 440-4901
   vpatton@edf.org                          Josh Stebbins
   dlifland@edf.org                         Sierra Club
                                            50 F Street NW Suite 800
   Sean H. Donahue                          Washington DC 20001
   Donahue & Goldberg, LLP                   (202) 675-6273
   2000 L St. NW Suite 808                  josh.stebbins@sierraclub.org
   Washington DC 30036
   (202) 277-7085                           Counsel for the Sierra Club
   sean@donahuegoldberg.com
                                            David Marshall
   Counsel for Environmental                Clean Air Task Force
     Defense Fund                           41 Liberty Hill Road
                                            Building 2, Suite 205
   John Walke                               Henniker, NH 03242
   Natural Resources Defense                (603) 428-8114
     Council                                dmarshall@catf.us
   1152 15th St., Suite 300
   Washington, DC 20005                     Attorney for American Lung
   (202) 289-6868                            Association, Clean Air Council,
   jwalke@nrdc.org                           and American Thoracic Society

   Attorney for Natural
     Resources Defense Council




                                      23
USCA Case #11-1302        Document #1362257         Filed: 03/06/2012   Page 36 of 36



                         CERTIFICATE OF COMPLIANCE

         I certify pursuant to Fed. R. App. P. 32(a)(7)(C) that, according to the

   word-count program in Microsoft Word 2010, the portions of the foregoing

   brief that counts against the word limit total 4650 words, and that, together

   with the briefs filed or to be filed by the State and Municipal respondent-

   intervenors and the Industry respondent-intervenors, the respondent-

   intervenors’ briefs together will not exceed the “combined total of 14,000

   words” specified in the Court’s briefing format order of January 18, 2012.



                           CERTIFICATE OF SERVICE

         I hereby certify that I filed the foregoing brief electronically via this

   Court’s CM/ECF system, which will automatically serve copies upon on

   registered counsel.


                                          /s/ Sean H. Donahue
   March 6, 2012                          Sean H. Donahue
                                          Donahue & Goldberg, LLP
                                          2000 L St. NW, Suite 808
                                          Washington, DC 30036
                                          (202) 777-7085
                                          sean@donahuegoldberg.com




                                         24
